      Case 2:11-cr-02079-WFN       ECF No. 435     filed 10/07/11   PageID.943 Page 1 of 1



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 2
 3
                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,        )
 6                                    ) NO. CR-11-2079-WFN
 7              Plaintiff,            )
 8
                                      )
          vs.                         )
 9                                    )
10   LORENA CORNEJO,                  ) ORDER MODIFYING CONDITIONS
                                      ) OF RELEASE
11
                Defendant.            )
12   ________________________________ )
13
            THIS MATTER having come to the Court's attention on the Defendant's Second
14
15   Motion to Modify Conditions of Release, and the Court having considered the file and
16
     record herein and otherwise being fully advised, grants the motion to modify conditions
17
18   of release (Ct. Rec. 429) and HEREBY ORDERS that the Defendants Lorena Cornejo,
19
     Gusmaro Mendoza-Baez and Carlos Mendoza-Baez may have contact with each other
20
21   but shall not discuss the charges filed herein or any facts or circumstances related
22
     thereto.
23
24          The motion hearing set on October 17, 2011 is stricken.
25
26
            DATED: October 7, 2011.
27
28                                                    s/ James P. Hutton               .
29                                                     JAMES P. HUTTON
                                              Magistrate Judge United States District Court
30
31
32
33   ORDER MODIFYING CONDITIONS OF RELEASE
34
35
